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                             UNITED STATES DISTRICT COURT
                             WESTERN DISTRICT OF MICHIGAN


WILLIAM SWARVAR,

         Plaintiff,

-vs-                                                           CASE NO: 1:14-cv-1302
                                                               HON.: PAUL L. MALONEY

MUSKEGON CHARTER TOWNSHIP,
MATTHEW ANDERSON, and JOSEPH
LUCE, in their individual and official capacities,

         Defendants.

 CHRISTOPHER TRAINOR & ASSOCIATES                     McGRAW MORRIS, PC
 CHRISTOPHER J. TRAINOR (P42449)                      G. GUS MORRIS (P32960)
 AMY J. DEROUIN (P70514)                              Attorneys for Defendants
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  STIPULATED ORDER REGARDING BRIEFING ON DISPOSITIVE MOTION AND
                         FACILITATION

         THIS MATTER having been brought before this Honorable Court upon the parties’

stipulation to the entry of an Order adjourning the date to file a response and reply to the pending

dispositive motion [Doc. #25] until after the parties attend facilitation on May 17, 2016 with Ms.

Pamela Enslen, Esq., and the Court being fully advised in the premises,

         UPON STIPULATION of the parties, by and through their attorneys, good cause is shown

as follows:

         1.      On March 24, 2016, Defendants filed their Motion for Summary Judgement [Doc.

#25].

         2.      The parties have agreed to facilitate this matter on May 17, 2016.

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       3.      That in order to avoid creating additional work for the Court and escalating

litigation costs in the event that this matter can be resolved outside court, the parties have agreed

to adjourn the dates by which a response and reply to the pending dispositive motion must be filed

until after the May 17, 2016 facilitation.

       4.      Thus, the parties have stipulated and agreed to the following briefing schedule with

respect to the pending dispositive motion [Doc. #25]: Plaintiff’s response shall be filed on or

before June 1, 2016, and Defendants’ reply shall be filed on or before June 22, 2016.



IT IS HEREBY STIPULATED AND AGREED:

By: Amy J. DeRouin                            By: G. Gus Morris (with permission)
    AMY J. DEROUIN (P70514)                         G. GUS MORRIS (P32960)
    Attorney for Plaintiff                          Attorney for Defendants




             IT IS SO ORDERED.



  Date: April 21, 2016                          /s/ Paul L. Maloney
                                               Paul L. Maloney
                                               United States District Judge




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